 Case 2:25-cv-01918-SPG-SK      Document 13   Filed 03/18/25   Page 1 of 7 Page ID
                                       #:71



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16
                           UNITED STATES DISTRICT COURT
17
                          CENTRAL DISTRICT OF CALIFORNIA
18                              WESTERN DIVISION
19    PRNRX PROFESSIONAL PHARMACY Case No. 2:25-CV-01918-MCS-AGR
      INC., on behalf of itself and all others
20    similarly situated,                      JOINT STIPULATION EXTENDING
21                  Plaintiff,                 TIME TO RESPOND TO
                                               PLAINTIFF’S COMPLAINT
22
      v.
23                                             Courtroom 7C
      GOODRX, INC.; GOODRX
24    HOLDINGS, INC.; CVS CAREMARK             Honorable Mark C. Scarsi
25    CORP.; EXPRESS SCRIPTS, INC.;
      MEDIMPACT HEALTHCARE
26    SYSTEMS, INC.; and NAVITUS
      HEALTH SOLUTIONS, LLC,
27
                  Defendants.
28
     JOINT STIPULATION EXTENDING TIME TO                CASE NO. 2:25-CV-01918-MCS-AGR
     RESPOND
 Case 2:25-cv-01918-SPG-SK        Document 13     Filed 03/18/25   Page 2 of 7 Page ID
                                         #:72



1            IT IS HEREBY STIPULATED and AGREED by and among Prnrx Professional
2    Pharmacy Inc. (“Plaintiff”) and GoodRx, Inc., GoodRx Holdings, Inc., CVS Caremark
3    Corp., Express Scripts, Inc., MedImpact Healthcare Systems, Inc., and Navitus Health
4    Solutions, LLC (together, “Defendants” and, with Plaintiff, the “Parties”), by and
5    through their attorneys undersigned, pursuant to Federal Rule of Civil Procedure 6(b),
6    that:
7                                           RECITALS
8            WHEREAS, Plaintiff filed the Class Action Complaint [ECF No. 1] (the
9    “Complaint”) in the above-captioned action (the “Action”) on March 5, 2025;
10           WHEREAS, eighteen other complaints involving substantially similar defendants,
11   making substantially similar allegations, and asserting substantially similar causes of
12   action (the “Related Actions”) have been filed in five federal district courts, including
13   the United States District Court for the District of Rhode Island, the United States District
14   Court for the Eastern District of New York, the United States District Court for the
15   District of Connecticut, the United States District Court for the Western District of
16   Wisconsin, and this Court;
17           WHEREAS, on January 16, 2025, plaintiff Grey Dog IV d/b/a Ethos
18   Wellness/Pharmacy filed a Motion to Transfer and Centralize Related Actions for
19   Consolidated or Coordinated Pretrial Proceedings (the “Second Motion to Transfer”)
20   with the United States Judicial Panel on Multidistrict Litigation (the “JPML”), requesting
21   that the JPML transfer the Related Actions to the United States District Court for the
22   District of Rhode Island for consolidated or coordinated pretrial proceedings;
23           WHEREAS, the Second Motion to Transfer is now pending in MDL No. 3148 and
24   a hearing on the Second Motion to Transfer will occur on March 27, 2025;
25           WHEREAS, the Parties agree that Defendants’ time to answer, move, or otherwise
26   respond in the Action should—in order to conserve the Court’s and the Parties’ resources
27   and promote the just, efficient, and fair resolution of the Action—be extended until after
28   venue in the Related Actions has been resolved.
     JOINT STIPULATION EXTENDING TIME TO                    CASE NO. 2:25-CV-01918-MCS-AGR
     RESPOND
 Case 2:25-cv-01918-SPG-SK        Document 13    Filed 03/18/25     Page 3 of 7 Page ID
                                         #:73



1          NOW, THEREFORE, based upon the foregoing recitals, which are incorporated as
2    though fully set forth herein, IT IS HEREBY STIPULATED and AGREED and, upon
3    Court approval, it shall be ordered, as follows:
4          1.     Defendants’ time to answer, move, or otherwise respond in the Action is
5    extended until forty-five (45) days after the date upon which the JPML rules upon the
6    Second Motion to Transfer (the “Extension Period”).
7          2.     During the Extension Period, none of the Parties shall seek or be required to
8    provide the disclosures or discovery contemplated by Federal Rules of Civil Procedure
9    26, 30, 31, 33, 34, or 36.
10         3.     If Defendants answer, move, or otherwise plead with respect to a complaint
11   in a Related Action pending in any district, Defendants will concurrently answer, move,
12   or otherwise plead with respect to the Complaint in the Action.
13         4.     This stipulation and proposed order does not constitute a waiver of any of
14   the Parties’ claims, rights, arguments, or defenses, including but not limited to the right
15   to seek a further extension of Defendants’ time to answer or otherwise respond to the
16   Complaint or any other pleading filed by Plaintiff in any of the Related Actions.
17
18   Dated: March 18, 2025                            Respectfully submitted,
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     JOINT STIPULATION EXTENDING TIME TO          2           CASE NO. 2:25-CV-01918-MCS-AGR
     RESPOND
 Case 2:25-cv-01918-SPG-SK   Document 13   Filed 03/18/25    Page 4 of 7 Page ID
                                    #:74



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     RESPOND
 Case 2:25-cv-01918-SPG-SK   Document 13   Filed 03/18/25    Page 5 of 7 Page ID
                                    #:75



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     JOINT STIPULATION EXTENDING TIME TO   4           CASE NO. 2:25-CV-01918-MCS-AGR
     RESPOND
 Case 2:25-cv-01918-SPG-SK   Document 13   Filed 03/18/25    Page 6 of 7 Page ID
                                    #:76



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     RESPOND
 Case 2:25-cv-01918-SPG-SK       Document 13     Filed 03/18/25    Page 7 of 7 Page ID
                                        #:77



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23
     Filer’s Attestation: Pursuant to Local Rule 5-4.3.4(a)(2)(i), David R. Singh hereby attests
24   that concurrence in the filing of this document and its contents was obtained from all
25   signatories listed above.
26
27
28
     JOINT STIPULATION EXTENDING TIME TO         6           CASE NO. 2:25-CV-01918-MCS-AGR
     RESPOND
